      Case 8:04-cr-00201-SDM-TGW Document 128 Filed 11/23/05 Page 1 of 10 PageID 350
40 245B (Rev 12/03) Sheet 1 - Judgment in a Criminal Case


                             UNITED S TA TES DlS TRlCT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DIVISION

UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                              CASE NUMBER:        8:04-cr-201-T-23MSS
                                                              USMNUMBER:          42044-018
vs.


WILLIE J. GRANT
 alkia "Billy Brown"                                                   Defendant's Attorney: Timothy J. Fitzgerald, ret

THE DEFENDANT:

X pleaded guilty to counts ONE, FOUR, and FIVE of the Superseding Indictment.
-

TITLE & SECTION                      NATURE OF OFFENSE                                   OFFENSE ENDED             COUNT

21 U.S.C. 0 s 846. 841               Conspiracy to Distribute and Possession With        May 28, 2004              ONE
(b)(l)(B)(iii), and 841(b)( l )(C)   Intent to Distribute 5 Grams or More of Cocaine
                                     Base and 500 Grams or More of Cocaine

21 U.S.C. $5 841(a)(l),            Distribution 'and Possession With Intent to           March 9, 2004             FOUR
841(b)(l)B)(iii) and 841(b)(l)(C), Distribute 5 Grams or More of Cocaine Base
and 18 U.S.C. g 2                  and a Quanlily of Cocaine

18 U.S.C. $8 924(c)(l)(A)(i).        Possessing. Using, and Carrying Firearms During     March 9, 2004             FIVE
924(c)( l)(A)(ii), and 2             and in Relation to Drug Trafficking Crimes

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

X Counts six, eight, nine, and ten of the superseding indictment, as well as the underlying indictment are dismissed in accordance
with the plea agreemenr.

IT IS FURTHER ORDERED that the defendant shall notrfy the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                Date of Imposition of Sentence: November 18, 2005




                                                                                                                     I
                                                                                    STEVEN D. MERRYDAY
                                                                                                                               1
                                                                                UNITED STATES DISTRICT JUDGE

                                                                                DATE: Novcmber      2 2$2005
       Case 8:04-cr-00201-SDM-TGW Document 128 Filed 11/23/05 Page 2 of 10 PageID 351
A 0 245B (Rev 12103) Sheet 2 - Imprisonment
Defendant:           WILLIE J. GRANT                                                                           Judgment - Page 2 of 6
Case No.:            8:M-cr-201-T-23MSS

                                                               IMPRISONMENT

                The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of TWO HUNDRED THIRTY-FIVE (235) MONTHS. The term consists of ONE HUhTlRED
FIFTY-ONE (151) MONTHS as to counts one and four of the Superseding Indictment and a consecutive term of
EIGHTY-FOUR (84) MONTHS as to count five of the Superseding Indictment.




X The court makes the following recommendations to the Bureau of Prisons: that the defendant be placed in FCI Coleman,
Florida or if unavailable, FCI Jesup, Georgia.



      The defendant is remanded to the custody of the United States Marshal.
-The defendant shall surrender to the United States Marshal for this district.
           -at - a.m.1p.m. on -.
           - as notified by the United States Marshal.
     Thr defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

           - before 2 p.m. on -.
           - as notified by the United States Marshal.
           - as notified by the Probation or Pretrial Scwices Office.



                                                                      RETURN

           I have executed this judgment as follows:




           Defendant delivered on                                                  to

at                                                                        , with a certificd copy of this judgment.


                                                                                           United States Marshal

                                                                        By:
                                                                        Deputy Marshal
       Case 8:04-cr-00201-SDM-TGW Document 128 Filed 11/23/05 Page 3 of 10 PageID 352
A 0 2453 (Rev. 12/03) Sheel 3 - Supervised Release

Defendant:        WILLIE J. GRANT                                                                Judgment - Page 3of 6
Case No. :        8:04-cr-201-T-23MSS

                                                       SUPERVISED RELEASE

        Upon release from i m p r i s o ~ l e n t .Ihc defendant shall be on supervised release for a term of SIXTY (60) MONTHS a s to
counts one, four, and five of the Supcrsetling Indictment; all terms to run concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. (i 921.

         The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

         The defendant shall cooperatc in the collection of DNA as directed by thc probation officer.

          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance
          with the Schedule of Payments sheet of this judgment.

          The defendant shall comply with the standard conditions that have been adopted by this courr as well as with any additional
          conditions on the attached page.
                                         STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not leave thc judicial district without the permission of the court or probation officer;
          thc defendant shall report to the probation officer and shall submit a truthful and complcte written report within the first fivc days
          of each month;
          the defendant shall answer truthfully all inquiries by the probation officcr and follow thc instructions of thc probation officer;
          the defendant shall support his or her dependents and meet other family responsibilitics;
          the defendant shall work regularly at a lawful occupation. unless excuscd by the probation officer for schooling, training, or other
          acceptable rcasons:

          the dcfcndant shall notify the probation officcr at lcast ten days prior to any changc in rcsidence or crnployment;
          the defendant shall refiain from cxcessive use of alcohol and shall not purchase. posscss, use. distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician:
          the defendant shall not fiequent places where controlled substanccs arc illegally sold, used, distributed, or ndministcrcd:
          thc defendant shall not associatc with any persons engaged in criminal activity and shall not associatc with any person convicted
          of a felony, unless granted permission to do so by the probation officer;
          the defendant shall permit a probation oficer to visit him or her at any time at home or elsewhcrc and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
          the defendant shall notify the probation officer within scvcnty-two hours of being arrestcd or questioned by a law enforcement
          officer:
          the dcfcndant shall not enter into any agreement to act as an mformcr or a special agent of a law enforcement agency \vithout the
          permission of thc court:
          as directed by thc probation officcr. the defendant shall notify third partics ofrisks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officcr to make such notifications and to confirm the
          defendant's compliance with such notification requircmcnt.
     Case 8:04-cr-00201-SDM-TGW Document 128 Filed 11/23/05 Page 4 of 10 PageID 353
A 0 2453 (Rev. 12/03) Sheet 3C - Supervised Release

Defendant:        WILLIE J . GRANT                                                          Judgment - Page 4 of 6
Case No. :        8:M-cr-201-T-23MSS
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:


-
X        The defendant shall participate, as directed by the Probation Officer. in a program (outpatient and/or inpatient) for treaunent
         of narcotic addiction or drug or alcohol dependency. This program may include testing for the detection of substance use
         or abuse. Further, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an
         amount determined reasonable by the Probation Officer's Sliding Scale for Substance Abuse Treatment Services.
      Case 8:04-cr-00201-SDM-TGW Document 128 Filed 11/23/05 Page 5 of 10 PageID 354
A 0 245B (Rev 12/03) Slleet 5 - Criminal Monetary Penalties

Defendant:         WILLIE J. GRANT                                                         Judgment - Page 5 of 6
Case No.:          8:W-cr-201-T-23MSS

                                          CRIMINAL MONETARY PENALTIES

         The defendant must pay the total crinlinal monetary penalties under the schedule of payments on Sheet 6.
                            Assessment                         -
                                                               Fine                        Total Restitution

                                                               $ waived



-        The determination of restitution is deferred until -.            An Anrended Judgment in a Criminal Case ( A 0 245C) will
         be entered after such determination.
         The defendant must make restitution (including cornnlunity restitution) to the following payees in the amount listed
         below.
         If the defendant makes a paqia! payment, each payee shall receive an approxinlately proportioned payment, unless
         specified otherw~se111 the prlorlty order or percentage pa yent colunln below. However. pursuant to 18 U.S.C. 5
                                                                      d
         3664(i), all non-federal victims nlust be paid before the nlted States.
                                                                                                             Priority Order or
                                                "Total                       Amount of                       Percentage of
Name of Pnree                                 Amount of Loss              Restitution Ordered                I'avment




                            Totals:           s-                          $


-        Restitution amount ordered pursuant to plea agreement S
-        The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
         before the fifteenth day after the date of the judgment, ursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
                                                               P
         6 may be subject to penalties for delinquency and de auk pursuant to 18 U.S.C. 5 3612(g).
-        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        -         the interest requirement is waived for the - fine       - restitution.

        -         the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110. 110A, and 113A of Title 18 for the offenses
cormnined on or after September 13. 1994, but before April 23. 1h 6 .
        Case 8:04-cr-00201-SDM-TGW Document 128 Filed 11/23/05 Page 6 of 10 PageID 355
A 0 2 4 B (Rev 12/03) Sheet 6 - Schedule of Payments

Defendant:        WILLIE J. GRANT                                                           Judgment - Page 6of 6
Case No. :        8:04-cr-201-T-23MSS


                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                  Lump sum payment of $ 300.00 due immediately, balance due
                            -not larer than                    . or
                            -in accordance - C. - D. - E or - F below; or
                  Payment to begin immediately (may be combined with -C, -D, or -F below); or
                  Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $             over a
                  period of          (e.g., months or years), to commence              days (e.g.. 30 or 60 days) after the
                  date of this judgment: or
                  Payment in equal                (e.f.. weekly. monthly, quarterly) installments of S             over a
                  period of             , (e.g.. mon 1s or years) to commence                   (e.g. 30 or 60 days) after
                  release from imprisonment to a term of supervision; or
                  Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time. or
                  Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise. if this jud ment imposes a period of im risonment. payment of criminal
                                                                      7                                    ex
moneta penalties is due during im risonment. All crimina monetary penalties, except ose a rnents made through the
        '3
Federal ureau of Prisons' InmateF! inancial Responsibility Program, are made to the clerk o e court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and
Several Amount. and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit to the United States immediately and voluntarily any and all assets and ro erty, or
         portions thereof. subject to forfeiture pursuant to the Preliminary Order of Forfeiture dated, July 6. ZOO!. 8 c u m e n t
         107. see nnt~ched.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) f i e principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

    UNITED STATES OF AMERICA,

          Plaintiff,

                                                     Case No. 8:04-cr-201-T-23MSS

    WILLIE J. GRANT,
          alkla "Billy Brown"
          a/Wa "Bossman",

          Defendant.


                          PRELIMINARY ORDER OF FORFEITURE

          THIS CAUSE comes before the court on Motion of the United States of America

    for Entry of a Preliminary Order of Forfeiture, which, at sentencing, shall be a final

    order of forfeiture as t o the right, title, and interest of defendant Willie J. Grant i n

    property subject t o forfeiture. For good cause shown, the motion of the United States

    is GRANTED.

          The Court, being fully advised in the premises, hereby finds that the government

    has established the requisite nexus between the funds totaling approximately $1,481.00

    in U.S. currency seized on or about March 9,2004 at 1232 20th Avenue South, St.

    Petersburg, FL; approximately $18,289.00 in U S . Currency seized on or about May 28,

    2004 at 1833 63rd Terrace South, St. Petersburg, FL; the 1999 BMW 3231, VIN:

    WBAAM3333XFP51856; the 1997 Chevrolet Tahoe, VIN: 1GNEK13R7VJ425580; the

    2000 Ford Taurus, VIN: 1FAFP55S8YA244228; the 1991 Wellcraft 17' Boat, FL#

    FL3929GL, HIN: WELD55831 091; the 2001 Performance Trailer, VIN:

    40ZBP19131PP77268 and the illegal drug activity to which defendant Willie J. Grant
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     pled guilty in Counts One and Four of the Superseding Indictment. Accordingly, these

     items are subject to forfeiture pursuant to the provisions of 21 U.S.C. 5 853.

            In addition, the Court finds that the government has established the requisite

     nexus between the weapons identified below and the crime of using a weapon in

     furtherance of a drug crime, to which defendant Willie J. Grant pled guilty as charged in

     Count Five of the Superseding Indictment, and, therefore, the following weapons are

     subject to forfeiture pursuant to 18 U.S.C. 5 924(d)(l):

                   a.     One Davis, .38 Caliber handgun, Model Derringer, serial number
                          0086132 seized on or about March 9, 2004 at 1232 20th Avenue
                          South, St. Petersburg, FL;

                   b.     One Colt, .45 caliber pistol, Model 1911 A ? , serial number
                          58075670 seized on or about March 9, 2004 at 1232 20th Avenue
                          South, St. Petersburg, FL;

                  c.      One Hi Point, 9 mm pistol, Model Cgmm, serial number PO68373
                          seized on or about March 9,2004 at 1232 20th Avenue South, St.
                          Petersburg, FL;

                   e.     a Glock, .40 caliber pistol, Model 35, serial number DBD233US
                          seized on or about May 28,2004 at 1833 63d Terrace South, St.
                          Petersburg, FL.;

                   f.     a Keltec P-32 .32 caliber handgun, serial number 112170 seized on
                          or about May 28, 2004 at 1833 631d Terrace South, St. Petersburg,
                          FL.; and

                  g.      an I.A.G. Galesi, -25 caliber pistol, Model 8, serial number 163874
                          seized on or about May 28, 2004 at 1833 63rdTerrace South, St.
                          Petersburg, FL.

     Accordingly, it is hereby

            ORDERED, ADJUDGED and DECREED that all right, title and interest of

     defendant Willie J. Grant in the property listed below are hereby condemned and

     forfeited to the United States of America for disposition according to law pursuant to the
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                             j and 18 U.S.C. § 924(d)(l):
    provisions of 21 U.S.C. €853

                 a.     a Davis, .38 Caliber handgun, Model Derringer, serial
                        number DO86132 seized on or about March 9,2004 at 1232 20th
                        Avenue South, St. Petersburg, FL;

                 b.     a Colt, .45 caliber pistol, Model 1911 A1 , serial number 58075670
                        seized on or about March 9, 2004 at 1232 20th Avenue South, St.
                        Petersburg, FL;

                 c.     a Hi Point, 9 mm pistol, Model Cgmm, serial number PO68373
                        seized on or about March 9, 2004 at 1232 20th Avenue South, St.
                        Petersburg, FL;

                 d.     approximately $1,481 in US. currency seized on or about March 9,
                        2004 at 1232 20th Avenue South, St. Petersburg, FL;

                 e.     a Glock, .40 caliber pistol, Model 35, serial number DBD233US
                        seized on or about May 28, 2004 at 1833 63rdTerrace South, St.
                        Petersburg, FL.;

                 f.     a Keltec P-32 .32 caliber handgun, serial number 112170 seized on
                        or about May 28, 2004 at 1833 63rdTerrace South, St. Petersburg,
                        FL.;

                 g.     an I.A.G. Galesi, .25 caliber pistol, Model 8, serial number 163874
                        seized on or about May 28, 2004 at 1833 63rdTerrace South, St.
                        Petersburg, FL.;

                  h.    approximately $18,289 in U.S. Currency seized on or about May 28,
                        2004 at 1833 63rd Terrace South, St. Petersburg, FL;

                 i.     a 1999 BMW 3231, VIN: WBAAM3333XFP51856;

                 1.     a 1997 Chevrolet Tahoe, VIN: 1GNEK13R7VJ425580;

                 k.     a 2000 Ford Taurus, VIN: 1FAFP55S8YA244228:

                 I.     a 1991 Wellcraft 17' Boat, FL# FL3929GL, HIN: WELD55831091; and

                 m.     a 2001 Performance Trailer, VIN: 40ZBP19131 PP77268.

          The Court shall retain jurisdiction to enter any orders necessary for the forfeiture

    and disposition of the subject listed above and to entertain any third party claims that
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    may be asserted in these proceedings.

          DONE and ORDERED in Chambers in Tampa, Florida, this

                       , ZOOi.




                                            UNITED STATES DISTRICT JUDGE    '

    Copies to: Tonya L. Shotwell, SAUSA
               Attorneys of Record
